                                    Case 6:18-bk-06437-KSJ                                    Doc 80         Filed 03/14/19          Page 1 of 20
 Fill in this information to identify your case and this filing:

 Debtor 1                    James S. Pendergraft, IV
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF FLORIDA

 Case number            6:18-bk-06437                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1301 Neelys Bend Rd.                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Unit 47                                                                        Duplex or multi-unit building              the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                        Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Madison                           TN        37115-5587                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                 $64,100.00                 $64,100.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Davidson                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                PARCEL ID: 052-16-0-A04-70-0CO

                                                                                Debtor has not paid the property taxes on this property since 2016. Debtor
                                                                                is unsure of the status of the property. There is no mortgage.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1         James S. Pendergraft, IV                                                                                      Case number (if known)          6:18-bk-06437

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        7904 Anne Ct.                                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
        Ste. 175                                                                      Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                            Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the           Current value of the
        Clinton                           MD        20735-1508                        Land                                            entire property?               portion you own?
        City                              State              ZIP Code                 Investment property                                    $281,300.00                    $281,300.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Prince Georges                                                                Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             PARCEL ID: XX-XXXXXXX

                                                                             Currently in foreclosure case number CAEF18-34171 in Prince Georges'
                                                                             County Circuit Court.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                              $345,400.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Mitsubishi                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Lancer GTS                                         Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2009                                               Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:                     120,000                 Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         VIN: JA3AU86WX9U003138
                                                                           Check if this is community property                                   $3,050.00                      $3,050.00
                                                                           (see instructions)



  3.2     Make:         Lincoln                                         Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Continental                                        Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2000                                               Debtor 2 only                                               Current value of the          Current value of the
          Approximate mileage:                     200,000                 Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
          Other information:                                               At least one of the debtors and another
         VIN #: 1LNHM82W9YY894869
                                                                           Check if this is community property                                      $375.00                       $375.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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 Debtor 1        James S. Pendergraft, IV                                                                           Case number (if known)       6:18-bk-06437

  3.3    Make:     Harley Davidson                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                   FLHRS Road King                                                                                            the amount of any secured claims on Schedule D:
         Model:    Custom                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2006                                              Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:      14,000                            Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN #: 1HD1FXC106Y637881
                                                                     Check if this is community property                                $5,105.00                  $5,105.00
                                                                     (see instructions)



  3.4    Make:     Kawasaki                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    ZX1400A6F Ninja ZX-14                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     2006                                              Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:       2,000                            Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN #: JKBZXNA136A003524
                                                                     Check if this is community property                                $4,710.00                  $4,710.00
                                                                     (see instructions)



  3.5    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Accord EX                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2002                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                150,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN #: 1HGCG16522A081566
                                                                     Check if this is community property                                $1,300.00                    $650.00
         Owned jointly with son and is in                            (see instructions)

         poor condition.


  3.6    Make:       Mitsubishi                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Lancer DE                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: JA3AU16U89U045765
                                                                     Check if this is community property                                $2,875.00                  $2,875.00
                                                                     (see instructions)



  3.7    Make:       Kawasaki                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      BN125-A Base                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: JKABNRA175DA12309
                                                                     Check if this is community property                                  $925.00                    $925.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $17,690.00

Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
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 Debtor 1       James S. Pendergraft, IV                                                            Case number (if known)     6:18-bk-06437


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                 Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Sofa 50, coffee table 20, end tables (2) 20 , lamps (2) 10, table (2)
                                    100 , chairs (8) 200, bed (2) 175, dresser (2) 100, vanity 50 , cabinet
                                    30 , desk 30, washer & dryer 150, refrigerator 100, freezer 25, lawn
                                    furniture 50, microwave 35, utensils 50, cookware 100, dishes 100,
                                    small appliances 50, end table 50, couch 50                                                                  $1,545.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV (2) 200                                                                                                     $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing                                                                                                         $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....




Official Form 106A/B                                                 Schedule A/B: Property                                                           page 4
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 Debtor 1          James S. Pendergraft, IV                                                                                            Case number (if known)   6:18-bk-06437


                                            Dogs (7) 35

                                            Co-owned with Sangeeta Pati                                                                                                             $17.50


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                      $1,812.50


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                       Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                BB&T acct #1678                                                             $10,823.18

                                                                                                  Bank Account for The James S. Pendergraft
                                                                                                  IV 2005 Irrevocable Trust - debtor is obtaining
                                                                                                  additional informtion and will amend
                                              17.2.       Checking                                accordingly                                                                   Unknown


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                      % of ownership:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                    page 5
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 Debtor 1       James S. Pendergraft, IV                                                           Case number (if known)   6:18-bk-06437


                                         2001 West Oakland Park Blvd, LLC - Value:
                                         Debtor is obtaining information and will file an
                                         amendment accordingly.

                                         Assets:
                                         2001 W Oakland Park, Fort Lauderdale, FL 33311
                                         ID#: 4942 21 00 0285
                                         Value: $1,220,740.00
                                         Owned by 2001 West Oakland Park Blvd Corp -
                                         which was converted to a LLC - Debtor has 99%
                                         interest in the LLC.

                                         Wells Fargo Analyzed Business Checking acct
                                         #7912
                                         Balance as of 10/11/18: $45.40


                                         Liabilities:
                                         Mortgage on property: $600,000                                    99       %                       Unknown


                                         502 South Magnolia Avenue, LLC -Value: Debtor
                                         is obtaining information and will file an
                                         amendment accordingly.


                                         Assets:
                                         502 Magnolia Ave., Tampa, FL 33606
                                         PIN: A-24-29-18-4ZX-000010-00003.0
                                         Value: $535,257.00

                                         Wells Fargo Analyzed Business Checking acct
                                         #7475
                                         Account balance as of 1/11/18: $382.11

                                         Liabilities:
                                         Mortgage on property: $600,000.00                                 99       %                       Unknown


                                         Ocala Women's Center, LLC - Value: Debtor is
                                         obtaining information and will file an amendment
                                         accordingly.


                                         Not operational.

                                         Asset:
                                         Bank of America Business Fundamentals
                                         Checking acct #4918
                                         Balance as of 1/31/2018: $204.14                                  99       %                        $202.10


                                         Fort Lauderdale Women's Center, LLC - Value:
                                         Debtor is obtaining information and will file an
                                         amendment accordingly.


                                         Entity still exists but the medical clinic was
                                         closed by the State.                                              99       %                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                     page 6
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 Debtor 1       James S. Pendergraft, IV                                                           Case number (if known)   6:18-bk-06437


                                         Summit Medical & Surgical Supply, Inc.
                                         Not operational.

                                         Assets:
                                         Ameriprise Finanical Investment Plan acct #5281
                                         $943.72 as of 2/28/18

                                         Wells Fargo Business Choice Checking acct
                                         #1406
                                         Balance as of 11/30/2018: $11.26                                  99       %                        $945.43


                                         Wilson Medical Management, LLC - Value:
                                         Debtor is obtaining information and will file an
                                         amendment accordingly.

                                         Co-owned with Dennise Williams, she owns 70%

                                         Assets:
                                         Wells Fargo Business Choice Checking acct
                                         #7695
                                         Balance as of 1/31/2018: $1,000.02

                                         Assets:
                                         Vanguard stock accounts: $8,041.21                                30       %                       $2,712.37


                                         Gorilla Realty Management, LLC

                                         Assets:
                                         Wells Fargo Analyzed Business Checking acct
                                         #7255

                                         For other Assets and Liabilities see balance
                                         sheet.                                                            99       %                            $0.00


                                         Pendergraft Investments, LLC

                                         Not operational.

                                         Assets:
                                         Bank of America Business fundamentals
                                         Checking acct #0946
                                         Balance as of 10/31/2018: $66.09                                  99       %                          $65.43


                                         Abortion By Pill Inc. - Not operational.                          99       %                            $0.00


                                         Gorilla Property Management LLC
                                         Co-owned with Denise Wiliams.                                     65       %                            $0.00


                                         WC Management, LLC - Not operational.                             99       %                            $0.00


                                         Orlando Women's Center - Not operational.                         99       %                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                     page 7
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 Debtor 1         James S. Pendergraft, IV                                                                 Case number (if known)   6:18-bk-06437


                                          609 Virginia Drive, LLC

                                          Assets:
                                          609 Virginia Drive, Orlando, FL 32803
                                          PARCEL ID: 24-22-29-4476-00-017
                                          Value: $710,256.00

                                          Liability:
                                          Mortgages on property: First Mortgage
                                          $682,391.64 and Second Mortgage $75,301.09                              99        %                            $0.00


                                          1103 Lucerne Terrace, LLC - Value: Debtor is
                                          obtaining information and will file an amendment
                                          accordingly.

                                          Assets:
                                          1103 Lucerne Terrace, Orlando, FL 32806
                                          PARCEL ID: 35-22-29-9440-00-251
                                          Value: $455,475

                                          BB&T bank acct #4188
                                          Balance as of 10/31/2018: $64.00


                                          Liability:
                                          Mortgage on property: $600,000                                          99        %                       Unknown


                                          108 N.W. Pine Avenue LLC

                                          Assets:
                                          Wells Fargo Analyzed Business Checking acct
                                          #7255
                                          Balance as of 1/11/2018: $1,284.19                                      99        %                       $1,271.35


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                         Institution name:

                                        401(k)                            American Century 401(k) Account #7001                                  $96,345.06


                                        IRA                               American Century IRA Account #8001                                        $2,584.31


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
Official Form 106A/B                                                 Schedule A/B: Property                                                             page 8
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        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                              The James S. Pendergraft IV 2005 Irrevocable Trust - this trust was
                                              established in 2005 and contains a spendthrift clause.

                                              Date of creation: November 15, 2005

                                              Value: Debtor is obtaining information and will file an amendment
                                              accordingly.

                                              Debtor is co-trustee with Denise Williams

                                              Beneficiaries:
                                              Primary Beneficiary: Debtor
                                              Secondary Beneficiaries: Debtor's 5 children.

                                              Assets:
                                              Wells Fargo Advisors account #1763: $26,707.21 as of the
                                              September 2018 statement.

                                              American Century Investments Funds #020 : market value as of
                                              9/30/2018 = $96,345.06
                                              American Century Investments Funds #982 : market value as of
                                              3/31/2018 = $61,955.63

                                              1 share voting common stock in the following businesses:
                                              108 N.W. Pine Avenue Corporation
                                              502 South magnolia Avenue Corporation
                                              609 Virginia Drive Corporation
                                              1103 Lucerne Terrace Corporation
                                              2001 West Oakland Park Boulevard Corporation
                                              EPOC Clinic, Inc.
                                              Fort Lauderdale Women's Center, Inc.
                                              Ocala Women's Center, Inc.
                                              Orlando Women's Center, Inc.
                                              Women's Center of Hyde Park, Inc.

                                              Voting Rights added to Trust in 2006                                                                   Unknown


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.



Official Form 106A/B                                                 Schedule A/B: Property                                                               page 9
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 Debtor 1        James S. Pendergraft, IV                                                                                        Case number (if known)        6:18-bk-06437
28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                 Surrender or refund
                                                                                                                                                                   value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $114,949.23


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 10
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 Debtor 1         James S. Pendergraft, IV                                                                                              Case number (if known)   6:18-bk-06437

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $345,400.00
 56. Part 2: Total vehicles, line 5                                                                          $17,690.00
 57. Part 3: Total personal and household items, line 15                                                      $1,812.50
 58. Part 4: Total financial assets, line 36                                                                $114,949.23
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $134,451.73               Copy personal property total           $134,451.73

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $479,851.73




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
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 Fill in this information to identify your case:

 Debtor 1                   James S. Pendergraft, IV
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF FLORIDA

 Case number           6:18-bk-06437
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             345,400.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             134,451.73

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             479,851.73

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          2,307,085.51

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         30,194,286.00


                                                                                                                                     Your total liabilities $           32,501,371.51


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,840.13

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,812.21

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      James S. Pendergraft, IV                                                   Case number (if known) 6:18-bk-06437

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       5,468.13


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    James S. Pendergraft, IV
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number              6:18-bk-06437
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ James S. Pendergraft, IV                                              X
              James S. Pendergraft, IV                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date                                                                      Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                        UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

IN RE:

James S. Pendergraft IV                                        Case No. 6:18-bk-06437-KSJ
                                                               Chapter 7

      Debtor(s).
____________________________/

                                CERTIFICATE OF SERVICE
                               FOR AMENDED SCHEDULES B

       COMES NOW, the undersigned counsel hereby Amends Schedule B to add or update the
   following changed and include the original filed assets;
           o   2009 Mitsubishi Lancer DE;
           o   2005 Kawasaki;
           o   108 NW Pine Avenue LLC;
           o   1103 Lucerne Terrace amended to include bank account;
           o   2001 West Oakland Park amended to include bank account under this LLC and value
               unknown;
           o 502 S Magnolia, amended to include bank account under this LLC;
           o Abortion by pill value amended from “unknown” to $0;
           o Fort Lauderdale Women’s Center value amended from “unknown” to $0;
           o Gorilla Property Management value amended from “unknown” to 0;
           o Ocala Women’s Medical Center amended to include bank account under this LLC and
               put value to last known balance in bank account;
           o Orlando Women’s Center amended from “unknown” to $0;
           o Pendergraft Investments amended to include bank account;
           o Pendergraft Investments amended to update value;
           o Summit Medical & Surgical Supply, Inc. amended to include bank account under this
               LLC and to update value;
           o WC Management value amended from “unknown” to $0;
           o Wilson Medical management amended to include bank account under this LLC;
           o Wilson Medical management amended to update value;
           o Gorilla Reality Management amended assets to include bank account, liabilities per
               balance sheet, and amended value from “unknown” to $0.
           o Amended to add Debtor has primary beneficiary to The James S. Pendergraft IV 2005
               Irrevocable Trust and clarify the five children are secondary beneficiaries. Also updated
               WF acct title, number and balance as of September 2018. Lastly, amended to include two
               American Century accounts.
   Also, undersigned counsel hereby amends Schedule D to include M&T Bank as a Creditor.
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       I HEREBY CERTIFY that copies have been furnished by regular U.S. Mail or

electronically via ECF to Trustee Arvind Mahendru, 5703 Red Bug Lake Rd, Suite 284, Winter

Springs, FL 32709; United States Trustee, George C. Young Federal Building, 400 West

Washington Street, Suite 1100, Orlando, FL 32801; Added Creditor M&T Bank, c/o McCalla

Raymer Leibert Pierce, LLC; and to James S. Pendergraft IV, 609 Virginia Dr., Orlando, FL

32803 on this 14th day of March, 2019.



                                                  Respectfully Submitted,

                                                  By: /s/ Justin R. Clark
                                                  Justin R. Clark, Esq.
                                                  Florida Bar No. 829471
                                                  Justin Clark & Associates, PLLC
                                                  Attorney for Debtor
                                                  500 Winderley Place, Unit 100
                                                  Maitland, FL 32751
                                                  Tel: 321-282-1055
                                                  Fax: 321-282-1051
                                                  Email: jclark@youhavepower.com
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